      Case 1:22-cr-00673-LAK Document 33-1 Filed 01/06/23 Page 1 of 3



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - x
UNITED STATES OF AMERICA        :
                                              VICTIM NOTIFICATION ORDER
     - v. -                         :
                                              22 Cr. 673 (LAK)
SAMUEL BANKMAN-FRIED,               :
         a/k/a “SBF,
                                    :
                  Defendant.
                                :
- - - - - - - - - - - - - - - - x


     Upon the application of the United States, by the United

States Attorney for the Southern District of New York, Damian

Williams, by Assistant United States Attorneys Samuel Raymond,

Thane Rehn, Andrew Rohrbach, Nicolas Roos, and Danielle R. Sassoon;

     It is found that the number of victims in the above-captioned

case makes it impracticable to accord all of the victims of the

charged offenses the rights described in Title 18, United States

Code, Section 3771(a).

     It is further found, pursuant to Title 18, United States Code,

Section 3771(d)(2), that the procedures described below regarding

victim notification and victims' rights are a reasonable procedure

that will give effect to Title 18, United States Code, Section

3771, without unduly complicating or prolonging the proceedings in

this matter.

     Accordingly, it is hereby ORDERED
      Case 1:22-cr-00673-LAK Document 33-1 Filed 01/06/23 Page 2 of 3



      That the following procedures are a reasonable procedure

giving effect to the notification rights contained in Title 18,

United States code, Section 3771(a):

      a. The Government will maintain a notice (the "Notice")

regarding this case online at

      https://www.justice.gov/usao-sdny/united-states-v-samuel-

bankman-fried-aka-sbf-22-cr-673-lak

      b. The Notice will contain the following information:

         i. The caption, case number, assigned judge, and name of

the defendant;

         ii.    A   substantially    verbatim   listing    of    the   rights

provided for in Title 18, United States Code, Section 3771(a);

         iii. A listing of public proceedings scheduled in the case;

and

         iv. The name and contact information for a United States

Attorney's     Office   official   with   responsibility   for   addressing

victims' rights.

      c. In addition, the Government will continue to update the

Notice to reflect scheduled court and public proceedings, within

a reasonable period of time of such scheduling;

      d. In advance of court proceedings such as a plea proceeding

or sentencing, the Notice will specify that the Court, in order to

conduct orderly proceedings and to maintain a reasonable schedule,
     Case 1:22-cr-00673-LAK Document 33-1 Filed 01/06/23 Page 3 of 3



requires advance notice from victims who wish to be heard at the

relevant proceeding. Based on the number of victims who provide

such notice, the Court will rule on the manner in which victims

will be heard at such proceedings.



Dated:   New York, New York
         JANUARY 6, 2022

                                 __________________________________
                                 THE HONORABLE LEWIS A. KAPLAN
                                 UNITED STATES DISTRICT JUDGE
